                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                   : No. 1:23-bk-00988-HWV
   UPTOWN PARTNERS, LP d/b/a             :
   RESIDENCES AT GOVERNOR’S              :            Chapter 11
   SQUARE, a/k/a GOVERNOR’S              :
   SQUARE APARTMENTS                     :
                                         :
                         Debtor          :

UPTOWN PARTNERS, LP                      :
                  Movant                 :
                                         :
                    v.                   :
                                         :
REDEVELOPMENT AUTHORITY                  :
OF THE CITY OF HARRISBURG,               :
CAPITAL REGION WATER, CITY               :
OF HARRISBURG, DAUPHIN                   :
COUNTY TAX CLAIM BUREUA                  :
and HARRISBURG AREA SCHOOL               :
DISTRICT                                 :
                  Respondents            :

                          CERTIFICATE OF CONCURRENCE

      I hereby certify that counsel for the objectors, the City of Harrisburg, The U.S.
Trustee and the Department of Housing and Urban Development has been contacted
regarding the Debtor’s Motion to Continue Confirmation Hearing and they concur with
such continuance.

                                              By:      /s/ Robert E. Chernicoff
                                                    Robert E. Chernicoff, Esquire
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Date: September 4, 2024



 Case 1:23-bk-00988-HWV Doc 181-2 Filed 09/04/24 Entered 09/04/24 16:06:06
                  Desc Certificate of Concurrence Page 1 of 1
